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 UNITED STATES BANKRUPTCY COURT
  NORTHERN DISTRICT OF GEORGIA


  IN RE:                                             Bankruptcy Case No.

     MARGARET CHICK                                  Chapter 7
                                                                                Filed in U.S. Bankruptcy
           Debtor.                                                                      Atlanta. Georgia Court
                                                                                  M. Regina Thomas,
                                                                                                       Clerk

 A. DEBTOR'S AMENDMENT                                                                 MAR   11 2022
                                                                                 By:
    Voluntary Petition                 El Schedule J                              Put)' Clerk
 E3 Schedule A/B                       El Declaration of Schedules
 El Schedule C                         E] Summary of Your Assets & Liabilities
 CI Schedule D                         El Statement of Financial Affairs
 El Schedule E/F                       ID Statement of Intention
 O  Schedule G                         El Statement of Current Monthly Income
 O Schedule H                          ID Statement About Your Social Security Numbers
 O Schedule I                          El Creditor Matrix Validation
 O Other Documents:
SZI am including a $32 filing fee for my changes to Schedule D, Schedule E/F, or the list of creditors.


B.DEBTOR'S SWORN DECLARATION

I declare under penalty of perjury that I have read this document and the attached
amendments, and that they are true and correct to the best of my knowledge, information,
and belief.

Dated:      ° 3 ) °C A04)-        Signature:



C.CERTIFICATION OF SERVICE

          MARGARET CHICK                 , certify that on              , I mailed this document
and the attached amendments by first-class mail to my bankruptcy trustee
                                                                                 . I declare under
penalty of perjury that the statements made in this certification of service are true and correct.



Dated: 65 / ° q      c;l0c,V      Signature:
                 Case 22-51585-lrc                     Doc 13       Filed 03/11/22 Entered 03/14/22 12:44:32                             Desc Main
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Fill in this information to identify your case and this filing:



Debtor 1          MARGARET                                               CHICK
                     WM Name                     MkIdle Name             Last Name

Debtor 2
(Spouse, if filing) First Name                   Middle Name             Lest Name

                                              NORTHERN DISTRICT OF GEORGIA
United States Bankruptcy Court for the:

Case number
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                     12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 . Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
    Ei    No. Go to Part 2.
    U Yes. Where is the property?
                                                                    What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                    U Single-family home                              the amount of any secured claims on Schedule D:
      1.1.                                                                                                            Creditors Who Have Claims Secured by Property.
                                                                    U Duplex or multi-unit building
              Street address, if available, or other description
                                                                    U Condominium or cooperative                      Current value of the     Current value of the
                                                                    U Manufactured or mobile home                     entire property?         portion you own?
                                                                    U Land
                                                                    U Investment property
                                                                    U Timeshare                                       Describe the nature of your ownership
              City                            State     ZIP Code                                                      interest (such as fee simple, tenancy by
                                                                    U Other                                           the entireties, or a life estate), if known.
                                                                    Who has an interest in the property? Check one.
                                                                    U Debtor 1 only
              County                                                U Debtor 2 only
                                                                    U Debtor 1 and Debtor 2 only                      U Check if this is community property
                                                                                                                        (see instructions)
                                                                    U At least one of the debtors and another
                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number:
    If you own or have more than one, list here:
                                                                   What is the property? Check all that apply.        Do not deduct Secured claims or exemptions. Put
                                                                   U Single-family home                               the amount of any secured Claims on Schedule D.    ,
      1.2.                                                                                                            Creditors Who Have Claims Secured by Propel*.     't
                                                                   U Duplex or multi-unit building
              Street address, if available, or other description
                                                                   U Condominium or cooperative                       Current value of the     Current value of the
                                                                   U Manufactured or mobile home                      entire property?         portion you own?
                                                                   U Land
                                                                   U Investment property
                                                                                                                      Describe the nature of your ownership
                                                                   U Timeshare
              City                            State     ZIP Code                                                      interest (such as fee simple, tenancy by
                                                                   U Other                                            the entireties, or a life estate), if known.
                                                                   Who has an interest in the property? Check one.
                                                                   U Debtor 1 only
              County                                               U Debtor 2 only
                                                                   U Debtor 1 and Debtor 2 only                       U Check if this is community property
                                                                   U At least one of the debtors and another            (see instructions)

                                                                   Other information you wish to add about this item, such as local
                                                                   property identification number:
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                                                                      What is the property? Check all that apply.       Do not deduOt Secured claims or exernPtiOna, Put
                                                                      U Single-family home                              the amount of any secured Claims on Schedule r ):
      1.3.                                                                                                              Creditors Witio Have Claims Secured by Property,        ,
             Street address, if available, or other description       U Duplex or multi-unit building
                                                                      U Condominium or cooperative                      Current value of the      Current value of the
                                                                                                                        entire property?          portion you own?
                                                                      U   Manufactured or mobile home
                                                                      U Land
                                                                      U Investment property
             City                            State     ZIP Code       U   Timeshare                                     Describe the nature of your ownership
                                                                                                                        interest (such as fee simple, tenancy by
                                                                      U Other                                           the entireties, or a life estate), if known.
                                                                      Who has an interest in the property? Check one.
                                                                      U Debtor 1 only
             County
                                                                      U Debtor 2 only
                                                                      U Debtor 1 and Debtor 2 only                      U Check if this is community property
                                                                                                                          (see instructions)
                                                                      U At least one of the debtors and another

                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:


  2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                                0.00
     you have attached for Part 1. Write that number here




  Part 2:     Describe Your Vehicles


! Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
  you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
     id No
     U Yes

     3.1.    Make:                                                    Who has an interest in the property? Check one.   Do net deduct secured claims or exemptions. Put
                                                                                                                        the amount of any secured claime on Schedule D:
             Model:                                                   U Debtor 1 only
                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                      U Debtor 2 only
             Year:                                                                                                      Current value of the       Current value of the
                                                                      U Debtor 1 and Debtor 2 only
             Approximate mileage:                                                                                       entire property?           portion you own?
                                                                      U At least one of the debtors and another                                                                 A

             Other information:
                                                                      U Check if this is community property (see
                                                                        instructions)


     If you own or have more than one, describe here:

     3.2. Make:                                                       Who has an interest in the property? Check one.   Do not deduct secured Claims or exemptions. Put
                                                                      U Debtor 1 only                                   the amount Of any secured Claims on Schedule D          .
             Model:                                                                                                     creditors Who Have Claims Secured by Property.      .
                                                                      U Debtor 2 only
             Year:                                                                                                      Current value of the       Current value of the !
                                                                      U Debtor 1 and Debtor 2 only
             Approximate mileage:                                                                                       entire property?           portion you own?
                                                                      U At least one of the debtors and another
             Other information:
                                                                      U Check if this is community property (see
                                                                        instructions)
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          Make:                                               Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions. Put
   3.3.
                                                                                                                  the amount of any secured claims on Schedule 0:
                                                              U Debtor 1 only                                     Creditors Who Have Claims Secured by Properly
          Model:
                                                              U Debtor 2 only
          Year:                                                                                                   Current value of the      Current value of the
                                                              U Debtor 1 and Debtor 2 only
                                                                                                                  entire property?          portion you own?
          Approximate mileage:                                U At least one of the debtors and another
          Other information:
                                                              U Check if this is community property (see
                                                                instructions)


          Make:                                               Who has an interest in the property? Check one. • Do not deduct secured claims or exemptions. Put
   3.4.
                                                                                                                the amount of any secured claims on Schedule 0:
                                                              U Debtor 1 only                                   Creditors Who Have Claims Secured by Averts
          Model:
                                                              U Debtor 2 only
          Year:                                                                                                 Current value of the Current value of the ;
                                                              U Debtor 1 and Debtor 2 only
                                                                                                                entire property?          portion you own?
          Approximate mileage:                                U At least one of the debtors and another
          Other information:
                                                              U Check if this is community property (see
                                                                instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   RI No
   LI Yes


          Make:                                               Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions. Put
   4.1.
                                                                                                                  the amount of any secured claims on Schedule I):
          Model:                                              U Debtor 1 only                                     Creditors Who Have Claims Secured by Properly
                                                              U Debtor 2 only
          Year:
                                                              U Debtor 1 and Debtor 2 only                        Current value of the      Current value of the
          Other information:                                  U At least one of the debtors and another           entire property?          portion you own?


                                                              U Check if this Is community property (see
                                                                instructions)



   If you own or have more than one, list here:

          Make:                                               Who has an interest in the property? Check one. • -DO not deduct secured claims or exemptions. Put.
   4.2.
                                                                                                                 the amount Of any secured claims on Schedule a ;
          Model:                                              U Debtor 1 only                                    Creditors WhoNave-Cialms_Secured by Properly ,
                                                              U Debtor 2 only
          Year:                                                                                                  Current value of the Current value of the ;
                                                              U Debtor 1 and Debtor 2 only
                                                                                                                 entire property?          portion you own?
          Other information:                                  U At least one of the debtors and another


                                                              U Check if this is community property (see
                                                                instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                          0.00
   you have attached for Part 2. Write that number here                                                                              4
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MN         Describe Your Personal and Household Items


Do you Own or have any legal or equitable Interest In any of the following items?
                                                                                                                          Current
                                                                                                                          ___
                                                                                                                                    value Of the
                                                                                                                                             ?
                                                                                                                          portion you own
                                                                                                                          Do not deduct secured r`laims
                                                                                                                          or exer9Ptions        -.      ,
                                                                                                                                        .
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
   ki No
   U Yes. Describe


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
   Li No
   ha Yes. Describe          COMPUTER, TV, CELLPHONE                                                                                         550.00

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
      No
   U Yes. Describe                                                                                                                              0.00

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   klNo
   U Yes. Describe                                                                                                                              0.00

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   10 No
   U Yes. Describe                                                                                                                              0.00

  . Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
   Li No
   la Yes. Describe          CLOTHES                                                                                                         200.00

12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
     No
   U Yes. Describe                                                                                                         $                    0.00

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

   id No
   Li Yes. Describe                                                                                                                             0.00

14. Any other personal and household items you did not already list, including any health aids you did not list

   lidNo
   Li Yes. Give specific
                                                                                                                                                0.00
      information.

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                               750.00
    for Part 3. Write that number here
                                      -
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En             Describe Your Financial Assets


= Do you own or have any legal. or equitable interest In any of the following?
                                                                                                                                     Current value of the
                                                                                                                                     portion •you• own?
                                                                                                                                     Do not deduct secured claims
                                                                                                                                     or exemptions.

 16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

     U No
     la Yes                                                                                                   Cash:                                    20.00


  17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
               and other similar institutions. If you have multiple accounts with the same institution, list each.
     C3   No
     •    Yes                                                   Institution name:


                               17.1. Checking account:          WELLS FARGO,                                                                          500.00

                               17.2. Checking account:

                               17.3. Savings account:           WELLS FARGO,                                                                        2,500.00
                               17.4. Savings account:

                               17.5. Certificates of deposit:

                               17.6. Other financial account:

                               17.7. Other financial account:

                               17.5. Other financial account:

                               17.9. Other financial account:




  18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
          No
     U Yes                     Institution or issuer name:




  19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
      an LLC, partnership, and joint venture

     id No                     Name of entity:                                                                % of ownership:
     L:1 Yes. Give specific
          information about
          them
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20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   El No
   U Yes. Give specific      Issuer name:
     information about
     them




21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

   El No
   L=I Yes. List each
       account separately.   Type of account:          Institution name:

                             401(k) or similar plan:

                             Pension plan:

                             IRA:

                             Retirement account:

                             Keogh:

                             Additional account:

                             Additional account:



22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

   la No
   U Yes                                           Institution name or individual:
                              Electric:

                              Gas:

                              Heating oil:

                              Security deposit on rental unit:
                              Prepaid rent:

                              Telephone:

                              Water:
                              Rented furniture:

                              Other:



23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   El No
   U Yes                       Issuer name and description:
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    24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
         26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       111 No
       CI Yes                            Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




    25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
        exercisable for your benefit

           No
       LI Yes. Give specific
           information about them....                                                                                                                         0.00

    26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
        Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
       CI Yes. Give specific
           information about them....                                                                                                                         0.00

    27. Licenses, franchises, and other general intangibles
        Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       RI No
       •   Yes. Give specific
           information about them....                                                                                                                         0.00

    Money or property owed to you?                                                                                                            Current yak* of the
                                                                                                                                              portion
                                                                                                                                              DO not deduct secured
                                                                                                                                               aims or exemptions.

    28. Tax refunds owed to you
1
'      RI No
       CI Yes. Give specific information                                                                               Federal:
                about them, including whether
                you already filed the returns                                                                          State:
                and the tax years.
                                                                                                                       Local:


    29. Family support
        Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       RI No
       •   Yes. Give specific information
                                                                                                                   Alimony:
                                                                                                                   Maintenance:
                                                                                                                   Support:
                                                                                                                   Divorce settlement:
                                                                                                                   Property settlement:

I 30. Other amounts someone owes you
      Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
                Social Security benefits; unpaid loans you made to someone else
           No
       •   Yes. Give specific information
                                                                                                                                              $                 0.00
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    31. Interests in insurance policies
        Examples: Health, disability, or life insurance;health savings account (HSA);credit, homeowner's, or renter's insurance
        0 No
        U Yes. Name the insurance company            Company name:                                             Beneficiary:                              Surrender or refund value:
               of each policy and list its value....




    32.Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.
        la   No
        U Yes. Give specific information
                                                                                                                                                                             0.00

    33.Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue
        O No
        U Yes. Describe each claim.
                                                                                                                                                                              0.00
    34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
        to set off claims
        O No
        U Yes. Describe each claim.
                                                                                                                                                                             0.00:


    35. Any financial assets you did not already list

        10 No
        U Yes. Give specific information                                                                                                                                     0.00


, 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
        for Part 4. Write that number here                                                                                                                             3,020.00

1




    Part 5:       Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

    37. Do you own or have any legal or equitable interest in any business-related property?
        El No. Go to Part 6.
       U Yes. Go to line 38.
                                                                                                                                                       Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured claims
                                                                                                                                                       or exemptions.

    38. Accounts receivable or commissions you already earned
       U No
       U Yes. Describe


    39. Office equipment, furnishings, and supplies
        Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
       CI No
       U Yes. Describe
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40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   U No
   U Yes. Describe



41. Inventory
     U No
     U Yes. Describe


42. Interests in partnerships or joint ventures
   la No
   U Yes. Describe          Name of entity:                                                             % of ownership:




43. Customer lists, mailing lists, or other compilations
    U No
    U Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
            CI No
            U Yes. Describe.



44. Any business-related property you did not already list
    CI No
    U Yes. Give specific
       information




45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                      0
    for Part 5. Write that number here



Part 6:     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
    Ei No. Go to Part 7.
    U Yes. Go to line 47.
                                                                                                                          Current value of the
                                                                                                                          portion you own?
                                                                                                                          Do not deduct secured claims
                                                                                                                          or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
   U No
   U Yes
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, 48. Crops—either growing or harvested
     U No
     U Yes. Give specific
       information.

 49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
     U No
     U Yes



 50. Farm and fishing supplies, chemicals, and feed
     U No
     CI Yes



 51. Any farm- and commercial fishing-related property you did not already list
     U No
     U Yes. Give specific
       information.

  52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                          0.00
      for Part 6. Write that number here



  Part 7:      Describe All Property You Own or Have an interest in That You Did Not List Above


  53. Do you have other property of any kind you did not already list?
      Examples: Season tickets, country club membership

     U No
                               PUBLIC STORAGE, STORAGE UNIT
     id   Yes. Give specific
          information.



                                                                                                                                         0.00
  54. Add the dollar value of all of your entries from Part 7. Write that number here



  Part 8:      List the Totals of Each Part of this Form


                                                                                                                       4     $          0.00
  55. Part 1: Total real estate, line 2

                                                                                        0.00
  66. Part 2: Total vehicles, line 5

                                                                                    750.00
  57.Part 3: Total personal and household items, line 15

                                                                                  3,020.00
  58.Part 4: Total financial assets, line 36

                                                                                          0
  59.Part 5: Total business-related property, line 45

                                                                                        0.00
  60.Part 6: Total farm- and fishing-related property, line 52

  61.Part 7: Total other property not listed, line 54                 4.$               0.00

                                                                                  3,770.00 Copy personal property total 4   C1-$   3,770.00
  62.Total personal property. Add lines 56 through 61.



                                                                                                                                   3,770.00
  63.Total of all property on Schedule NB. Add line 55+ line 62
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 Fill in this information to identify your case:


 Debtor 1          MARGARET                                              CHICK
                    First Name                  Middle Name              Last Name

 Debtor 2
 (Spouse, If filing) First Name                 Middle Name              Last Name

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA

 Case number                                                                                                                                    El Check if this is an
  (If known)
                                                                                                                                                   amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                       04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule NB: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

  Part 1.        Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      la You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      U You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you listen Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the properly and line on          Current value of the     Amount of the exeMPtion You               SpeolflO left that allow exemption
       Schedule A/0 that lists this property                  Portion you own
                                                              Copy the value from      Check only one box for each exemption.
                                                              Schedule NB

      Brief                                                                                                                     Ga. Code Ann. § 4413-100 (a)(4)
                              ELECTRONICS, COMPUTER                           250.00   U               250.00
      description:
      Line from                                                                        El   100% of fair market value, up to
      Schedule A/B:                                                                         any applicable statutory limit

      Brief                                                                                                                     Ga. Code Ann. § 44-13-100 (a)(4)
                              ELECTRONICS, TV                                 200.00        $          200.00
      description:
      Line from                                                                        U 100% of fair market value, up to
                              7
      Schedule NB:                                                                       any applicable statutory limit

      Brief                                                                                                                     Ga. Code Mn. § 44-13-100 (a)(4)
                              ELECTRONICS, CELLPHONE          $               100.00   U               100.00
      description:                                                                          $

      Line from                                                                        El   100% of fair market value, up to
      Schedule NB:            7                                                             any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
     El No
     U Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
           U      No
           U      Yes
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ueotor 1
                                                             Document      Page 13 of 17numoer
                                                                                   ease                        (If know?))
             First Name          Middle Name     Last Name




El          Additional Page

      Brief description of the property and line         Current value of the      Amount of the exemption you claim           Specific laws that allow
      on Schedule ISIS that lists this property          portion you own
                                                         Copy the value froM       Check only one box for each exemption
                                                         Schedule Ma

     Brief                                                                                                                   Ga. Code Ann. § 4413-100 (a)(4)
                          CLOTHES                                        200.00        $          200.00
     description:
     Line from            11                                                       CI 100% of fair market value, up to
     Schedule A/B:                                                                     any applicable statutory limit

     Brief                CASH                                                                                               Ga. Code Ann. § 44-13-100 (a)(6)
     description:
                                                                          20.00    lief $          20.00

                                                                                       100% of fair market value, up to
     Line from
     Schedule A/B.
                          16                                                           any applicable statutory limit


     Brief                CHECKING ACCOUNT, WELLS FARGC $                500.00        $          500.00                     Ga. Code Ann. § 44-13-100 (a)(6)
     description:
     Line from                                                                         100% of fair market value, up to
                          17                                                           any applicable statutory limit
     Schedule A/B:

     Brief                                                                                                                   Ga. Code Ann. § 44-13-100 (a)(6)
                          SAVINGS ACCOUNT, WELLS FARGO $                2,500.00                 2,500.00
     description:                                                                      $

     Line from            17                                                       0   100% of fair market value, up to
     Schedule A/B:                                                                     any applicable statutory limit

     Brief
     description:
     Line from                                                                     0   100% of fair market value, up to
     Schedule A/B:                                                                     any applicable statutory limit


     Brief
     description:                                                                  Us
     Line from                                                                     0 100% of fair market value, up to
     Schedule NB: -                                                                    any applicable statutory limit

     Brief
     description:                                                                  Us
     Line from                                                                     0 100% of fair market value, up to
     Schedule A/B:                                                                     any applicable statutory limit

     Brief
     description:                                                                  Us
     Line from                                                                         100% of fair market value, up to
     Schedule A/B:                                                                     any applicable statutory limit


     Brief
     description:                                                                  Us
     Line from                                                                     O 100% of fair market value, up to
     Schedule A/B:                                                                   any applicable statutory limit

     Brief
     description:                                                                  Us
     Line from                                                                     0 100% of fair market value, up to
     Schedule A/B:                                                                     any applicable statutory limit

     Brief
     description:                                                                  Us
     Line from                                                                     0 100% of fair market value, up to
     Schedule A/B:                                                                     any applicable statutory limit


     Brief
     description:
     Line from                                                                     LI 100% of fair market value, up to
     Schedule A/B:                                                                     any applicable statutory limit
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 Fill in this information to identify your case:


 Debtor 1              MARGARET                                    CHICK
                       First Name            Middle Name           Last Name

 Debtor 2
 (Spouse, if filing)   First Name            Middle Name           Last Name

                                           NORTHERN DISTRICT OF GEORGIA
 United States Bankruptcy Court for the:

 Case number                                                                                                                       El Check if this is an
                       (If known)                                                                                                     amended filing




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                         12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this forrn. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Part 1:        Summarize Your Assets


                                                                                                                                Your assets
                                                                                                                                Value of what you own
1. Schedule AB: Property (Official Form 106A/B)
   la. Copy line 55, Total real estate, from Schedule NB
                                                                                                                                                        0


    lb. Copy line 62, Total personal property, from Schedule A/B                                                                            3,770.00

    lc. Copy line 63, Total of all property on Schedule NB                                                                                  3,770.00


Part 2:        Summarize Your Liabilities


                                                                                                                                Your liabilities
                                                                                                                                Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
   2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D
                                                                                                                                                   0.00

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                   0.00
   3a.Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F

    3b.Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F                                       40,636.00
                                                                                                                                + $

                                                                                                       Your total liabilities              40,636.00


Part 3:        Summarize Your income and Expenses


4. Schedule I: Your Income (Official Form 1061)
                                                                                                                                            1,443.00
   Copy your combined monthly income from line 12 of Schedule I

5. Schedule J: Your Expenses (Official Form 106J)
   Copy your monthly expenses from line 22c of Schedule J                                                                                   2,110.00
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                   MARGARET                       CHICK
Debtor .1                                                                                     Case number (If known)
                   First Name   Middle Name       Last Name




Part 4:           Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

    ID No.
            Yes


7. What kind of debt do you have?

            Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
            family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

    0       Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
            this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                   89.00




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:




        From Part 4 on Schedule EIF, copy the following.


    9a. Domestic support obligations (Copy line 6a.)                                                                       0.00

    9b.Taxes and certain other debts you owe the government. (Copy line 6b.)                                               0.00

    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                    0.00


    9d. Student loans. (Copy line 6f.)                                                                                 2,826.00

    9e. Obligations arising out of a separation agreement or divorce that you did not report as                            0.00
        priority claims. (Copy line 6g.)

    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)         +$                      0.00

    9g. Total. Add lines 9a through 9f.                                                                                2,826.00
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Fill in this information to identify your case:


Debtor 1              MARGARET                                    CHICK
                      First Name              Middle Name         Last Name

Debtor 2
(Spouse, if filing)   F1151 Name              Middle Name         Last Name


United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA
Case number
(If known)
                                                                                                                                                 El Check if this is an
                                                                                                                                                    amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                          12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       121 No
       U Yes. Name of person                                                               . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                             Signature   (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




         SipjOtIrej.f Debtor 1                                       Signature of Debtor 2


         Date 0       g Wa2Do2,,2,                                   Date
                          DD       /   YYYY                                   MM   DD /   YYYY

                                                                                                                                              — ,
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